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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              18-80124-CR-ROSENBERG/REINHART


  UNITED STATES OF AMERICA,

                 Plaintiff,
  v.


  Kenneth Bailynson et al,
               Defendant(s).
                                      /

                ORDER SETTING TRIAL DATE AND TRIAL PROCEDURES

         This matter is set for a criminal jury trial before the Honorable Robin L. Rosenberg,
  United States District Judge, at United States District Court 701 Clematis Street, Courtroom 2
  on the Fourth Floor, West Palm Beach, Florida, during the two-week period commencing
  Monday, August 20, 2018 at 9:00 a.m, or as soon thereafter as the case may be called. A Status
  Conference/Calendar Call will be held on Wednesday, August 15, 2018 at 9:00 a.m. at the
  United States District Court, 701 Clematis Street, Courtroom 2 on the Fourth Floor, West
  Palm Beach, Florida.

         Counsel who wish to appear via telephone shall call the toll-free number 1-877-873-8018
  from a landline phone, five (5) minutes prior to the start of the Status Conference/Calendar Call.
         a.      Enter Access Code Number 9890482 followed by the # sign,
         b.      Enter Security Code Number 4008 followed by the # sign,
         c.      State your name, the name of the party you represent and enter the conference
       1. Motions for Continuance shall be filed on the Friday prior to the Status
         Conference/Calendar Call.         The filing of a Motion for Continuance does not
         automatically excuse the parties from appearing at the Status Conference/Calendar Call.
         Every Motion for Continuance shall include language that the Defendant agrees
         that the filing of the motion tolls speedy trial from the date that the motion is filed


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        until the next trial date that the Court sets for the case.
     2. Counsel may conduct limited voir dire following the Court’s questioning of the panel. If
        counsel wish for the Court to ask questions during its voir dire in addition to the Court’s
        standard questions, counsel shall submit their questions on the day before the first day
        of trial (on Friday if trial is scheduled to begin on Monday).              Proposed jury
        instructions, including those for substantive charges and defenses, shall be submitted to
        the Court on the day before the first day of trial (on Friday if trial is scheduled to
        begin on Monday). The voir dire questions and the proposed jury instructions shall be
        submitted in Word format, by e-mailing them to rosenberg@flsd.uscourts.gov. Counsel
        for the defendant may file under seal any proposed jury instructions that relate to the
        theory of the case.
     3. Unless otherwise provided by separate order of the Court, counsel for the Government
        shall provide the Court and counsel for the defendant with the witness and exhibit lists on
        the day of trial. All exhibits to be offered into evidence must be pre-labeled in
        accordance with the exhibit list.
     4. If the case will be resolved by a change of plea, counsel for the parties shall email the
        courtroom deputy, Melanie Richardson (rosenberg@flsd.uscourts.gov) immediately upon
        reaching such determination to set the matter for a change of plea.
     5. Pursuant to the Court’s CM/ECF Administrative Procedures, proposed orders shall be
        submitted to the Court by e-mail in Word format at rosenberg@flsd.uscourts.gov
        DONE AND ORDERED at West Palm Beach, Florida, this 6th, day of August, 2018.




                                                      ___________________________________
                                                      ROBIN L. ROSENBERG
                                                      UNITED STATES DISTRICT JUDGE
  Cc: Counsel of Record




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